Rev. 5/85) Judgment in a Civil Case q




         United States District Court
                                        EASTERN DISTRICT OF WISCONSIN

WER1 WORLD NETWORK,

                                        Plaintiff,
                                                               JUDGMENT IN A CIVIL CASE
                          v.                                      Case No. 11-C-0901

MICHAEL SCOTT JEWSON,

                                        Defendant.


             This action came before the court, the issues have been decided and a decision

has been rendered. Now, therefore,

             IT IS ORDERED AND ADJUDGED that judgment is entered in the amount of

twenty-five thousand dollars ($25,000.00) against defendant Michael Scott Jewson in

favor of plaintiff WeR1 World Network.



APPROVED:                               s/ C.N. CLEVERT, JR.
                                        C.N. CLEVERT, JR.
                                        U.S. District Judge
                                                                  JON W . SANFILIPPO
                                                                  Clerk

                                         3/31/2015                s/ C. Fehrenbach
                                        Date                      (By) Deputy Clerk




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